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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 11-cv-00191-MSK-MJW

  MICHELLE BIGLEN,

  Plaintiff(s),

  v.

  NCO FINANCIAL SYSTEMS, INC.,

  Defendant(s).
                                     MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

           Based upon the Notice of Settlement, it is hereby ORDERED that the Rule 16
  Scheduling Conference set on May 3, 2011, at 9:30 a.m. is VACATED. The parties
  shall file their settlement documents with the court on or before June 7, 2011, or show
  cause why this case should not be dismissed.

  Date: April 7, 2011
